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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

THE COLBY RESTAURANT GROUP, INC., Civil Action No.
BBR LAUDERDALE, LLC d/b/a TA WALK
ON’S BISTREAUX, and SRG
SOUTHCENTER, LLC d/b/a TWIN PEAKS,
Individually and on Behalf of All Others
Similarly Situated,
                                               COMPLAINT and
                              Plaintiffs, DEMAND FOR JURY TRIAL
       vs.

UTICA NATIONAL INSURANCE GROUP,
REPUBLIC-FRANKLIN INSURANCE
COMPANY, AMGUARD INSURANCE
COMPANY, and BERKSHIRE HATHAWAY
GUARD,

                                Defendants.

       The Colby Restaurant Group, Inc. (“Colby”), BBR Lauderdale, LLC d/b/a TA Walk On’s

Bistreaux (“BBR”), and SRG Southcenter, LLC d/b/a Twin Peaks (“SRG”) (collectively,

“Plaintiffs”), by way of Complaint against Utica National Insurance Group (“Utica”), Republic-
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Franklin Insurance Company (“Republic”), AmGUARD Insurance Company (“AmGUARD”),

and Berkshire Hathaway Guard (“Berkshire”) (collectively, “Defendants”) allege as follows:

                                       INTRODUCTION

       1.      On March 11, 2020, World Health Organization (“WHO”) Director General

Tedros Adhanom Ghebreyesus declared the COVID-19 outbreak a worldwide pandemic: “WHO

has been assessing this outbreak around the clock and we are deeply concerned both by the

alarming levels of spread and severity, and by the alarming levels of inaction. We have therefore

made the assessment that COVID-19 can be characterized as a pandemic.”1

       2.      On March 16, 2020, the Centers for Disease Control and Prevention (“CDC”),

and members of the national Coronavirus Task Force issued to the American public guidance,

styled as “30 Days to Slow the Spread” for stopping the spread of COVID-19. This guidance

advised individuals to adopt far-reaching social distancing measures, such as working from

home, avoiding shopping trips and gatherings of more than ten people, and staying away from

bars, restaurants, and food courts.2

       3.      Following this advice for individuals to adopt far-reaching social distancing

measures, and in response to the COVID-19 pandemic, many state government administrations

across the nation recognized the need to take steps to protect the health and safety of their

residents from the human-to-human and surface-to-human spread of COVID-19. As a result,

many governmental entities entered civil authority orders suspending or severely curtailing


1
        See World Health Organization, WHO Director-General’s opening remarks at the media
briefing     on     COVID-19       -    11      March       2020     (Mar.     11,     2020),
https://www.who.int/dg/speeches/detail/who-director-general-s-opening-remarks-at-the-media-
briefing-on-covid-19---11-march-2020.
2
       The President’s Coronavirus Guidelines for America, 30 Days to Slow the Spread,
WHITE            HOUSE,             https://www.whitehouse.gov/wp-content/uploads/2020/03/
03.16.20_coronavirus- guidance_8.5x11_315PM.pdf (last visited Apr. 27, 2020).

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business operations of non-essential businesses that interact with the public and provide

gathering places for individuals. Currently, almost all states within the United States have issued

some sort of “stay-at-home” order and have ordered private non-essential business operations to

close.

         4.    The result of these far-reaching restrictions and prohibitions has been catastrophic

for many businesses, especially restaurants and other foodservice businesses, as well as retail

establishments, entertainment venues, and other small, medium, and large businesses who have

been forced to close, furlough employees, and endure a sudden shutdown of cash flow that

threatens their survival.

         5.    Most businesses insure against such catastrophic events like the current

unforeseen COVID-19 pandemic through all-risk commercial property insurance policies. These

policies promise to indemnify the policyholder for actual business losses incurred when business

operations are involuntarily suspended, interrupted, curtailed, when access to the premises is

prohibited because of direct physical loss or damage to the property, or by a civil authority order

that restricts or prohibits access to the property. This coverage is commonly known as “business

interruption coverage” and is standard in most all-risk commercial property insurance policies.

         6.    Defendants, and most insurance companies who have issued all-risk commercial

property insurance policies with business interruption coverage, are denying the obligation to

pay for business income losses and other covered expenses incurred by policyholders for the

physical loss and damage to the insured property from measures put in place by the civil

authorities in response to the COVID-19 pandemic. This action seeks a declaratory judgment

that affirms that the COVID-19 pandemic and the corresponding response by civil authorities

triggers coverage, has caused physical property loss and damage to the insured property,



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provides coverage for future civil authority orders that result in future suspensions or

curtailments of business operations, and finds that Defendants are liable for the losses suffered

by policyholders.

       7.      In addition, this action brings a claim against Defendants for their breach of their

contractual obligation under common all-risk commercial property insurance policies to

indemnify Plaintiffs and others similarly situated who have suffered losses due to measures put

in place by civil authorities’ stay-at-home or shelter-in-place orders since March 15, 2020.

       8.      Plaintiffs bring this action on behalf of a proposed class of policyholders who

paid premiums in exchange for all-risk commercial property insurance policies that included lost

business income and extra expense coverage (together with Plaintiffs’ policies, the “Policies”).

                                JURISDICTION AND VENUE

       9.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §1332(d) in that

this is a class action in which the amount in controversy exceeds $5,000,000, exclusive of

interest and costs, and at least one member of the putative class is a citizen of a different State

than that of Defendants.

       10.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b) in that a

substantial part of the events and/or omissions giving rise to the claims occurred in this District,

and Defendants conduct business in this District and thus reside in this District, in accordance

with 28 U.S.C. §1391(c).

                                            PARTIES

       11.     Plaintiff Colby is a New Jersey company with its principal place of business in

Southampton, New Jersey. Plaintiff owns and operates food service related businesses in New

Jersey and Delaware.



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       12.    Plaintiff BBR is a New Jersey company with its principal place of business in

Southampton, New Jersey. Plaintiff owns and operates a food service related businesses in Fort

Lauderdale, Florida.

       13.    Plaintiff SRG is a New Jersey company with its principal place of business in

Southampton, New Jersey.      Plaintiff owns and operates a food service related business in

Tukwila, Washington.

       14.    Defendants Utica and Republic are Ohio insurance companies, with their

principal place of business in Columbus, Ohio, and are duly licensed to issue insurance in

Connecticut, Delaware, District of Columbia, Georgia, Illinois, Indiana, Kansas, Maryland,

Massachusetts, Michigan, New Hampshire, New Jersey, New York, North Carolina, Ohio,

Pennsylvania, Rhode Island, Tennessee, Texas, Virginia, and Wisconsin.

       15.    Defendants AmGUARD and Berkshire are Pennsylvania insurance companies,

with their principal place of business in Wilkes-Barre, Pennsylvania, and are duly licensed to

issue insurance in every state except Wyoming and Alaska.

       16.    Defendants Utica and Republic issued to Plaintiff Colby policy no. CPP 5059236

covering the policy period June 1, 2019 through June 1, 2020 (the “Colby Policy”).

       17.    Defendants AmGUARD and Berkshire issued to Plaintiff BBR policy no.

BBBP029517 covering the policy period August 1, 2019 through August 1, 2020 (the “BBR

Policy”).

       18.    Defendants AmGUARD and Berkshire issued to Plaintiff SRG policy no.

SRBP087648 covering the policy period December 31, 2019 through December 31, 2020 (the

“SRG Policy”).




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                                  FACTUAL BACKGROUND

                                The Global COVID-19 Pandemic

       19.     Viruses of the family Coronaviridae, such as Middle East respiratory syndrome

(MERS) coronavirus (MERS-CoV) and severe acute respiratory syndrome (SARS) coronavirus

(SARS-CoV), have been responsible for the loss of human life since at least 2002 and were

identified in several animal hosts.3

       20.     In December 2019, an initial cluster of nine patients with an unknown cause of

viral pneumonia was found to be linked to the Huanan seafood market in Wuhan, China, where

many non-aquatic animals such as birds were also on sale. However, one of the patients never

visited the market, though he had stayed in a hotel nearby before the onset of the illness.4

       21.     By January 2020, genetic sequencing from patient samples was conducted to

identify a novel virus, SARS-CoV-2, as the causative agent for the pneumonia cluster.5 SARS-

CoV-2 is an RNA virus, with a crown-like appearance under an electron microscope because of

3
        See Roujian Lu, et al., Genomic characterisation and epidemiology of 2019 novel
coronavirus: implications for virus origins and receptor binding, CTR. FOR DISEASE CONTROL,
(Jan.      29,     2020),      https://www.cdc.gov/coronavirus/2019-ncov/downloads/genomic-
characterization-of-2019-nCoV-Lancet-1-29-2020.pdf (As a typical RNA virus, the average
evolutionary rate for coronaviruses is roughly 10-4 nucleotide substitutions per site per year, with
mutations arising during every replication cycle. This finding suggests that COVID-19
originated from one source within a short period and was detected rapidly. However, as the virus
transmits to more individuals, constant surveillance of arising mutations is needed. The fact that
at least one patient had not visited the market suggests either possible droplet transmission or
that the patient was infected by a currently unknown source. Evidence of clusters of infected
family members and medical workers has now confirmed the presence of human-to-human
transmission.).
4
       See id; Francesco Di Gennaro et al., Coronavirus Diseases (COVID-19) Current Status
and Future Perspectives a Narrative Review, MDPI: INT’L J. ENVTL. RESEARCH & PUB. HEALTH,
(Apr. 1, 2020), https://www.mdpi.com/1660-4601/17/8/2690 (There are four genera of
coronaviruses: (I) α-coronavirus (alphaCoV) and (II) β-coronavirus (betaCoV), which are
probably present in bats and rodents; and (III) δ-coronavirus (deltaCoV) and (IV) γ-coronavirus
(gammaCoV), which probably represent avian species.).
5
       Di Gennaro, supra note 4.

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glycoprotein spikes on its envelope. Among the functions of the structural proteins, the envelope

has a crucial role in virus pathogenicity as it promotes viral assembly and release.6

       22.       The first confirmed case of the virus outside China was diagnosed on January 13,

2020, in Bangkok, Thailand with the number of cases exceedingly increasing worldwide. On

January 30, 2020, the WHO declared that the SARS-CoV-2 outbreak constituted a public health

emergency of international concern, and by February 11, 2020, the disease caused by SARS-

CoV-2 was named “COVID-19” by the WHO Director-General.7 As of April 23, 2020, the

WHO reported a confirmed 2.5 million cases of COVID-19 globally and over 170,000 deaths,

with the United States dealing with more than 800,000 confirmed cases and 40,000 deaths –

more than any other country in the world.8

       23.       The clinical features of COVID-19 vary from asymptomatic forms to fatal

conditions of severe respiratory failure that require ventilation and support in an intensive care

unit (“ICU”). Pneumonia has been the most frequent severe manifestation of COVID-19, with

symptoms of fever, cough, dyspnea, and bilateral infiltrates on chest imaging.9 There are no




6
        See id. (To address the pathogenetic mechanisms of SARS-CoV-2, its viral structure and
genome must be considered. Coronaviruses are enveloped positive strand RNA viruses with the
largest known RNA genomes—30–32 kb—with a 5’-cap structure and 3’-poly-A tail.)
7
       See id.
8
        See Coronavirus disease 2019 (COVID-19) Situation Report – 94, WORLD HEALTH
ORGANIZATION (Apr. 23, 2020) https://www.who.int/docs/default-source/coronaviruse/situation-
reports/20200423-sitrep-94-covid-19.pdf?sfvrsn=b8304bf0_4.
9
        See Di Gennaro, supra note 4 (Asymptomatic infections have also been described, but
their frequency is unknown. Other, less common symptoms have included headaches, sore
throat, and rhinorrhea. Along with respiratory symptoms, gastrointestinal symptoms (e.g., nausea
and diarrhea) have also been reported, and in some patients, they may be the presenting
complaint.).

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specific treatments recommended for COVID-19, and no vaccine is currently available; thus,

understanding the complexities of COVID-19 is ongoing.10

       24.        It has now been discovered by scientists that COVID-19 has several modes of

transmission.      Pursuant to a “Situation Report” released by the WHO, the virus can be

transmitted through symptomatic transmission, presymptomatic transmission, or asymptomatic

transmission.11     Symptomatic transmission refers to transmission by an individual who is

experiencing symptoms associated with the virus who then transfers COVID-19 to another

individual.     Data from published studies provide evidence that COVID-19 is primarily

transmitted from symptomatic people to others who are in close contact through respiratory

droplets, by direct contact with infected persons, or by contact with contaminated objects and

surfaces.12

       25.        The incubation period for COVID-19, which is the time between exposure to the

virus (becoming infected) and symptom onset, averages 5-6 days, however, it can be up to 14



10
        See id. (The treatment is symptomatic, and oxygen therapy represents the major treatment
intervention for patients with severe infection. Mechanical ventilation may be necessary in cases
of respiratory failure refractory to oxygen therapy, whereas hemodynamic support is essential for
managing septic shock. Different strategies can be used depending on the severity of the patient
and local epidemiology.            Home management is appropriate for asymptomatic or
paucisymtomatic patients. They need a daily assessment of body temperature, blood pressure,
oxygen saturation and respiratory symptoms for about 14 days. Management of such patients
should focus on prevention of transmission to others and monitoring for clinical status with
prompt hospitalization if needed.)
11
        World Health Organization, Coronavirus disease 2019 (COVID-19) Situation Report –
73     (Apr.   3,     2020),   https://www.who.int/docs/default-source/coronaviruse/situation-
reports/20200402-sitrep-73-covid-19.pdf?sfvrsn=5ae25bc7_2.
12
       See id. (Data from clinical and virologic studies that have collected repeated biological
samples from confirmed patients provide evidence that shedding of the COVID-19 virus is
highest in upper respiratory tract (nose and throat) early in the course of the disease. That is,
within the first three days from onset of symptoms. Preliminary data suggests that people may
be more contagious around the time of symptom onset as compared to later on in the disease.)

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days.13 During this period, also known as the “presymptomatic” period, some infected persons

can be contagious. For that reason, transmission from a presymptomatic case can occur before

symptom onset.      Presymptomatic transmission still requires the virus to be spread through

infectious droplets or touching contaminated surfaces.14

       26.       An individual who does not develop symptoms, an asymptomatic case of

COVID-19, may still be able to transmit the virus to another, and laboratory-confirmed reports

have demonstrated this method of transmission.15

       27.       Not only is COVID-19 transmitted via human-to-human, but the WHO and

scientific studies have confirmed that the virus can live on contaminated objects or surfaces.

According to a study by scientists documented in The New England Journal of Medicine,

COVID-19 was detectable in aerosols for up to three hours, up to four hours on copper, up to

24 hours on cardboard, and up to two to three days on plastic and stainless steel.16 All of these

materials are used in the preparation and service of food by restaurants. The results of the study

13
       See id.
14
        See id. (In a small number of case reports and studies, presymptomatic transmission has
been documented through contact tracing efforts and enhanced investigation of clusters of
confirmed cases. This is supported by data suggesting that some people can test positive for
COVID-19 from 1-3 days before they develop symptoms. Thus, it is possible that people
infected with COVID-19 could transmit the virus before significant symptoms develop.)
15
       See id.
16
        See News Release, New coronavirus stable for hours on surfaces, NAT’L INSTS. OF
HEALTH (Mar. 17, 2020), https://www.nih.gov/news-events/news-releases/new-coronavirus-
stable-hours-surfaces; see also World Health Organization, Modes of transmission of virus
causing COVID-19: implications for IPC (Mar. 29, 2020), https://www.who.int/news-
room/commentaries/detail/modes-of-transmission-of-virus-causing-covid-19-implications-for-
ipc-precaution-recommendations (Airborne transmission of COVID-19 “may be possible in
specific circumstances and settings in which procedures or support treatments that generate
aerosols are performed; i.e., endotracheal intubation, bronchoscopy, open suctioning,
administration of nebulized treatment, manual ventilation before intubation, turning the patient to
the prone position, disconnecting the patient from the ventilator, non-invasive positive-pressure
ventilation, tracheostomy, and cardiopulmonary resuscitation.”).

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 suggest that individuals could get COVID-19 through indirect contact with surfaces or objects

 used by an infected person, whether or not they were symptomatic.

        28.     Another scientific study documented in the Journal of Hospital Infection found

 that human coronaviruses, such as SARS-CoV and MERS-CoV can remain infectious on

 inanimate surfaces at room temperature for up to nine days.17 At a temperature of 30 degrees

 Celsius or more, the duration of persistence is shorter. Contamination of frequently touched

 surfaces is, therefore, a potential source of viral transmission.18 Though this study was not

 conclusive on COVID-19 itself, scientists are still trying to understand its implication.

        29.     On March 27, 2020, the CDC released a report entitled “Public Health Responses

 to COVID-19 Outbreaks on Cruise Ships - Worldwide, February - March 2020.”19 The report

 detailed that during this time frame, COVID-19 outbreaks associated with three different cruise

 ship voyages caused over 800 confirmed cases and ten deaths.20 Of the individuals tested, a high


 17
         See G. Kampf et al., Persistence of coronaviruses on inanimate surfaces and their
 inactivation with biocidal agents, J. HOSPITAL INFECTION (Jan. 31, 2020),
 https://www.journalofhospitalinfection.com/action/showPdf?pii=S0195-6701%2820% 2930046-
 3.
 18
         See id. (Although the viral load of coronaviruses on inanimate surfaces is not known
 during an outbreak situation it seem plausible to reduce the viral load on surfaces by disinfection,
 especially of frequently touched surfaces in the immediate patient surrounding where the highest
 viral load can be expected. The WHO recommends “to ensure that environmental cleaning and
 disinfection procedures are followed consistently and correctly.”)
 19
         Leah F. Moriarty, MPH, Public Health Responses to COVID-19 Outbreaks on Cruise
 Ships - Worldwide, February - March 2020, CTRS. FOR DISEASE CONTROL & PREVENTION (Mar.
 27,                     2020),                   https://www.cdc.gov/mmwr/volumes/69/wr/
 mm6912e3.htm?s_cid= mm6912e3_w.
 20
         See id. (During February 7–23, 2020, the largest cluster of COVID-19 cases outside
 mainland China occurred on the Diamond Princess cruise ship, which was quarantined in the
 port of Yokohama, Japan, on February 3. On March 6, cases of COVID-19 were identified in
 persons on the Grand Princess cruise ship off the coast of California; that ship was subsequently
 quarantined. By March 17, confirmed cases of COVID-19 had been associated with at least 25
 additional cruise ship voyages. On February 21, CDC recommended avoiding travel on cruise

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 proportion were found to be asymptomatic, which may explain the high rates of infection on

 cruise ships. What is interesting about this study though, is that COVID-19 was identified on a

 variety of surfaces in cabins of both symptomatic and asymptomatic infected passengers up to 17

 days after cabins were vacated on the Diamond Princess cruise line, but before disinfection

 procedures had been conducted.21 The CDC notes that more studies are required to understand

 the perpetuation of transmission, but what is clear is the uncertainty around COVID-19 and its

 implications for the lawful and safe functioning of a variety of businesses, most significantly,

 food service businesses.

        30.     Without a vaccine to protect against COVID-19, effective control of the outbreak

 relies on measures designed to reduce human-to-human and surface-to-human exposure. Recent

 information on the CDC’s website provides that COVID-19 spreads when people are within six

 feet of each other or when a person comes in contact with a surface or object that has the virus on




 ships in Southeast Asia; on March 8, this recommendation was broadened to include deferring all
 cruise ship travel worldwide for those with underlying health conditions and for persons aged
 ≥65 years. On March 13, the Cruise Lines International Association announced a 30-day
 voluntary suspension of cruise operations in the United States. CDC issued a level 3 travel
 warning on March 17, recommending that all cruise travel be deferred worldwide.)
 21
         See id. (Cruise ships are often settings for outbreaks of infectious diseases because of
 their closed environment, contact between travelers from many countries, and crew transfers
 between ships. On the Diamond Princess, transmission largely occurred among passengers
 before quarantine was implemented, whereas crew infections peaked after quarantine. On the
 Grand Princess, crew members were likely infected on voyage A and then transmitted SARS-
 CoV-2 to passengers on voyage B. The results of testing of passengers and crew on board the
 Diamond Princess demonstrated a high proportion (46.5%) of asymptomatic infections at the
 time of testing. Available statistical models of the Diamond Princess outbreak suggest that
 17.9% of infected persons never developed symptoms. A high proportion of asymptomatic
 infections could partially explain the high attack rate among cruise ship passengers and crew.
 Although these data cannot be used to determine whether transmission occurred from
 contaminated surfaces, further study of fomite transmission of SARS-CoV-2 aboard cruise ships
 is warranted.)

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 it.22 Various other sources state that close contact with a person with the virus or surfaces where

 the virus is found can transmit the virus.23

        31.     Surface-to-human transmission is particularly acute in places where the public

 gathers for recreation, for example, to socialize, eat, drink, shop, and be entertained. This is why

 the CDC recommends that in viral outbreaks individuals who are infected stay at home and those

 who are not sick engage in preventive measures such as constant hand washing and avoiding

 activities that would bring them into close proximity of people with the virus or surfaces where

 the virus may reside. However, because these recommendations have proven ineffective to

 minimize the spread of COVID-19, containment efforts have led to civil authorities issuing

 orders closing many business establishments, including restaurants, bars, hotels, theaters,

 personal care salons, gyms, and schools, and mandating social distancing among the population.

 This has caused the cancelation of sporting events, parades, and concerts, the closure of

 amusement parks, and substantial travel restrictions. In addition, to conserve medical supplies,

 orders have been issued prohibiting the performance of non-urgent or non-emergency elective

 procedures and surgeries, forcing the suspension of operations at many medical, surgical,

 therapeutic, and dental practices.




 22
          CTRS. FOR DISEASE CONTROL & PREVENTION, How COVID-19 Spreads,
 https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-COVID- spreads.html
 (last visited Apr. 27, 2020).
 23
         Kampf, supra note 17 (remains infectious from two hours to 28 days depending on
 conditions); see also Nina Bai, Why One Test May Not Be Enough, UCSF (Feb. 13, 2020),
 https://www.ucsf.edu/news/2020/02/416671/how-new-coronavirus-spreads-and-progresses-and-
 why-one-test-may-not-be-enough (door knobs and table tops can contain the virus); Heather
 Murphy, Surfaces? Sneezes? Sex? How the Coronavirus Can and Cannot Spread, N.Y. TIMES
 (Mar. 19, 2020), https://www.nytimes.com/2020/03/02/health/coronavirus-how-it-spreads.html
 (virus can remain on metal and plastic for several days).

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        32.     Such “stay-at-home” orders are in effect in all but five states: more than 30 states

 have closed all non-essential businesses with additional states enacting measures to curtail

 business operations, all 50 states have closed schools, and nearly all states have closed

 restaurants and bars for services other than take-out and delivery (the “Closure Orders”).24

        33.     Since that time, Plaintiffs, as well as all other restaurants and small businesses in

 New Jersey and nationwide, have been unable to operate in the ordinary course of business.

                Defendants’ Standard Uniform All-Risk Commercial Property
                                    Insurance Policies

        34.     The insurance policies Defendants issued to Plaintiffs and the Class members are

 “all risk” commercial property polices which cover loss or damage to the covered premises

 resulting from all risks other than those expressly excluded.

        35.     Plaintiffs’ Policies, as well as the Policies of other Class members, are standard

 forms that are used by Defendants for all insureds having applicable coverage and provide

 identical or substantially similar coverage for all Class members.

                          PLAINTIFFS’ FACTUAL ALLEGATIONS

        36.     Among the coverages provided by the Policies was business interruption

 insurance, which, generally, would indemnify Plaintiffs for lost income and profits in the event

 that their business were shut down.

        37.     The Business Income (And Extra Expense) Coverage Form, form CP 00 30 04 02,

 in Colby’s Policy provides the following:

        We will pay for the actual loss of Business Income you sustain due to the
        necessary “suspension” of your “operations” during the “period of restoration.”
        The “suspension” must be caused by direct physical loss of or damage to property


 24
        See Kaiser Family Foundation, State Data and Policy Actions to Address Coronavirus
 (Apr. 27, 2020), https://www.kff.org/health-costs/issue-brief/state-data-and-policy-actions-to-
 address- coronavirus/.

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        at premises which are described in the Declarations and for which a Business
        Income Limit of Insurance is shown in the Declarations. The loss or damage must
        be caused by or result from a Covered Cause of Loss.

        38.     In the Business Income (And Extra Expense) Coverage Form in Colby’s Policy

 defines Business Income as:

              a.      Net Income (Net Profit or Loss before income taxes) that would
                      have been earned or incurred; and

              b.      Continuing normal operating expenses incurred, including payroll.

        39.     Business Income (And Extra Expense) Coverage Form, in Colby’s Policy also

 provides the following:

        Extra Expense

                a.     Extra Expense coverage is provided at the premises described in
                       the Declarations only if the Declarations show that Business
                       Income coverage applies at the premises.

                b.     Extra Expense means necessary expenses you incur during the
                       “period of restoration” that you would not have incurred if there
                       had been no direct physical loss or damage to property caused by
                       or resulting from a Covered Cause of Loss.

        40.     Business Income (And Extra Expense) Coverage Form, in Colby’s Policy also

 provides the following:

        5.      Additional Coverages

                a.     Civil Authority

                       We will pay for the actual loss of Business Income you sustain and
                       necessary Extra Expense caused by action of civil authority that
                       prohibits access to the described premises due to direct physical
                       loss of or damage to property, other than at the described premises
                       caused by or resulting from any Covered Cause of Loss.

        41.     The Businessowners Coverage Form, BP 00 03 01 06, in BBR’s and SRG’s

 Policies provides the following:



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      We will pay for the actual loss of Business Income you sustain due to the necessary
      suspension of your “operations” during the “period of restoration”. The suspension
      must be caused by direct physical loss of or damage to property at the described
      premises. The loss or damage must be caused by or result from a Covered Cause of
      Loss. With respect to loss of or damage to personal property in the open or personal
      property in a vehicle, the described premises include the area within 100 feet of the
      site at which the described premises are located.

      42.    BBR’s Policy also provides the following:

      Civil Authority

      When a Covered Cause of Loss causes damage to property other than property at
      the described premises, we will pay for the actual loss of Business Income you
      sustain and necessary Extra Expense caused by action of civil authority that
      prohibits access to the described premises, provided that both of the following
      apply:

      (1) Access to the area immediately surrounding the damaged property is
      prohibited by civil authority as a result of the damage, and the described premises
      are within that area but are not more than one mile from the damaged property;
      and

      (2) The action of civil authority is taken in response to dangerous physical
      conditions resulting from the damage or continuation of the Covered Cause of
      Loss that caused the damage, or the action is taken to enable a civil authority to
      have unimpeded access to the damaged property.

      Civil Authority coverage for Business Income will begin 72 hours after the time
      of the first action of civil authority that prohibits access to the described premises
      and will apply for a period of up to four consecutive weeks from the date on
      which such coverage began.

      Civil Authority coverage for necessary Extra Expense will begin immediately
      after the time of the first action of civil authority that prohibits access to the
      described premises and will end:

      (1) Four consecutive weeks after the date of that action; or

      (2) When your Civil Authority coverage for Business Income ends;

      whichever is later.

      The definitions of Business Income and Extra Expense contained in the Business
      Income and Extra Expense Additional Coverages also apply to this Civil
      Authority Additional Coverage. The Civil Authority Additional Coverage is not
      subject to the Limits of Insurance of Section I - Property.


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        43.    SRG’s Policy also provides:

        Civil Authority

        When a Covered Cause of Loss, causes damage to property other than to property
        at the described premises, we will pay for the actual loss of Business Income you
        sustain and necessary Extra Expense caused by action of civil authority that
        prohibits access to the described premises, provided that both of the following
        apply:

        (1) Access to the area immediately surrounding the damaged property is
        prohibited by civil authority as a result of the damage, and the described premises
        are within that area but are not more than one mile from the damaged property;
        and

        (2) The action of civil authority is taken in response to dangerous physical
        conditions resulting from the damage or continuation of the Covered Cause of
        Loss that caused the damage, or the action is taken to enable a civil authority to
        have unimpeded access to the damaged property.

        44.    Plaintiffs and all similarly situated Class members have suffered a direct physical

 loss of and damage to their property because they have been unable to use their property for its

 intended purpose.

        45.    The Policies do not contain any reference to pandemic or exclusions for

 pandemics. The exclusion of loss “due to virus or bacteria” contained in the Policies is not

 applicable because Plaintiffs’, and other class members’, losses were not caused by any of the

 actions set forth in the endorsement, and/or because other provisions make clear such exclusion

 is not applicable to certain losses, including food contamination losses. Rather, the efficient

 proximate cause of Plaintiffs’, and other Class members’ losses, were measures taken by state

 officials in response to the COVID-19 pandemic.

        46.    Notwithstanding the fact that Plaintiffs’ claims should have been covered under

 their respective Policies, Utica denied Colby’s claim under the Colby Policy by letter dated

 March 27, 2020. Berkshire denied BBR’s claim under the BBR Policy by letter dated April 8,

 2020 and SRG’s claim under the SRG Policy by letter dated April 7, 2020.


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               The COVID-19 Pandemic has Affected Policyholders Nationwide

        47.     The COVID-19 pandemic, including the actions taken by state officials, is

 physically impacting private commercial property throughout the United States, and threatening

 the survival of thousands of restaurants, retail establishments, and other businesses that have had

 their business operations suspended or curtailed indefinitely by order of civil authorities.

        48.     No insurer intends to cover any losses caused by the COVID-19 pandemic.

        49.     For example, a bipartisan group from the U.S. House of Representatives sent a

 letter to various insurance industry trade groups on March 18, 2020, requesting that their

 members recognize financial losses relating to COVID-19 under the standard commercial

 interruption coverage. Specifically, the letter noted that “shelter-in-place” orders to combat

 COVID-19 throughout the country would have an economic impact on America’s businesses,

 some of which had already “been forced to send employees home or shutter their doors due to a

 loss of economic activity.” The letter stated, “business interruption insurance is intended to

 protect businesses against income losses as a result of disruptions to their operations and

 recognizing income losses due to COVID-19 will help sustain America’s businesses through

 these turbulent times, keep their doors open, and retain employees on the payroll.”25 In response,

 the industry trade groups stated: “Business interruption policies do not, and were not designed to,




 25
         Letter from Nydia M. Velazquez, Andy Kim, et al., Members of Congress, U.S.
 Congress, to David Sampson, President & CEO, Am. Prop. Casualty Ins. Assoc., Charles
 Chamnes, President & CEO, Nat’l Assoc. Mutual Ins. Co., et al (Mar. 18, 2020)
 https://cunningham.house.gov/sites/cunningham.house.gov/files/wysiwyg_uploaded/Signed%20
 BII%20Letter_Final.pdf.

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 provide coverage against communicable diseases such as COVID-19.”26 Upon information and

 belief, Defendants belongs to and supports the trade groups’ position.

        50.     For instance, Arkansas Insurance Department Bulletin No. 9-2020 states that “In

 most BII policies, coverage is triggered when the policyholder sustains physical damage to

 insured property caused by a covered peril resulting in quantifiable business interruption loss . . .

 [v]iruses and disease are typically NOT an insured peril unless added by endorsement.”

 (Emphasis in the original).27

        51.     The South Carolina Department of Insurance issued “Guidance” on business

 interruption insurance stating that under the business income policy, there likely is no coverage

 from losses resulting from a virus.28

        52.     Members of the insurance industry have also been actively advising Insurance

 Commissioners that they do not intend to provide coverage for business interruption related to

 COVID-19. As a result, many small businesses that maintain commercial multi-peril insurance

 policies with business interruption coverage will have significant uninsured losses because the

 insurance industry is stating that such policies do not cover COVID-19.

        53.     For instance, the State of Connecticut Insurance Department, Maryland Insurance

 Administration, and the West Virginia Office of the Insurance Commissioner issued nearly

 identical notices supporting the insurance companies’ reasons for denying business interruption




 26
         Insurers Reject House Members’ Request to Cover Uninsured COVID Business Losses,
 INS.                   J.,               (Mar.                  20,               2020),
 https://www.insurancejournal.com/news/national/2020/03/20/561810.htm.
 27
        Memorandum from Arkansas Ins. Dep’t to Arkansas Ins. Consumers, et al. (Mar. 23,
 2020), https://insurance.arkansas.gov/uploads/resource/documents/9-2020.pdf.
 28
        S.C. DOI, COVID-19, https://www.doi.sc.gov/948/COVID-19 (last visited May 4, 2020).

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 claims, stating that the potential loss costs from such perils [like COVID-19] are so extreme that

 providing coverage would jeopardize the financial solvency of property insurers.29

          54.   John F. King, Insurance and Safety Fire Commission for the State of Georgia

 issued Bulletin 20-EX-3 stating that losses from COVID-19 are excluded losses.30            Vicki

 Schmidt, Kansas Insurance Department Commission issued a similar Bulletin stating it was her

 “understanding that it is unlikely that a business policy would cover losses related to COVID-

 19.”31

          55.   Other state governments expect that insurance companies will breach their

 obligation to provide coverage for business losses due to the COVID-19 pandemic and have

 introduced bills requiring every insurance policy insuring against loss or damage to property,

 which includes the loss of use and occupancy and business interruption, be construed to include,

 among other covered perils, coverage for business interruption because of global virus

 transmission or pandemic.32


 29
          See CONN. INS. DEP’T, NOTICE: BUSINESS INTERRUPTION INSURANCE AND THE NOVEL
 CORONAVIRUS,        https://portal.ct.gov/CID/Coronavirus/Business-Interruption-Insurance-Notice
 (last visited May 4, 2020); Maryland Insurance Administration Advisory on Business
 Interruption       Insurance,         M D.     INS.     ADMIN.,       (Mar.       18,     2020)
 https://insurance.maryland.gov/Pages/newscenter/NewsDetails.
 aspx?NR=2020256; Ins. Bulletin from James A. Dodrill, W. Va. Ins. Comm’r to All Insurers,
 Insurance Trade Associations, and Other Interested Persons (Mar 26, 2020)
 https://www.wvinsurance.gov/Portals/0/pdf/pressrelease/20-08%20Business%20
 Interruption%20Insurance.pdf?ver=2020-03-26-222830-620.
 30
       Memorandum from John F. King, Ins. & Safety Fire Comm’r to Georgia Consumers
 (Mar.          17,            2020),         https://www.oci.ga.gov/ExternalResources/
 Announcements/Bulletin-3172020-1619.pdf.
 31
          KAN. INS. DEP’T COVID-19 FAQ (Updated Apr.                    29,   2020    9:00   a.m.),
 https://insurance.ks.gov/documents/department/COVID19-FAQ.pdf.
 32
       See House Bill No. 858, State of Louisiana House of Representatives. Similar legislation
 has been introduced in Massachusetts (Senate Bill Senate Docket No. 2888); New Jersey
 (Assembly No. 3844); Sate of New Jersey (Assembly 10226); and Ohio (House Bill No. 589).

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        56.     A declaratory judgment determining that the business income loss, civil authority

 loss, and extra expense coverage provided in common all-risk commercial property insurance

 policies applies to the suspension, curtailment, and interruption of business operations resulting

 from measures put into place by civil authorities is necessary to prevent the Plaintiffs and

 similarly situated Class members from being denied critical coverage for which they have paid.

                               CLASS ACTION ALLEGATIONS

        57.     Plaintiffs bring this lawsuit pursuant to Federal Rules of Civil Procedure 23(a),

 (b)(2), and (b)(3) on behalf of themselves and all other persons similarly situated.

        58.     The Nationwide Class is defined as:

        All entities who have entered into standard all-risk commercial property insurance
        policies with Defendants insuring property, where such policies provide for
        business income loss and extra expense coverage and do not exclude coverage for
        pandemics, and who have suffered losses due to measures put in place by civil
        authorities’ stay-at-home or shelter-in-place orders since March 15, 2020.

        59.     The New Jersey Sub-Class is defined as:

        All entities who have entered into standard all-risk commercial property insurance
        policies with Defendants insuring property in New Jersey, where such policies
        provide for business income loss and extra expense coverage and do not exclude
        coverage for pandemics, and who have suffered losses due to measures put in
        place by civil authorities’ stay-at-home or shelter-in-place orders since March 15,
        2020.

        60.     The Delaware Sub-Class is defined as:

        All entities who have entered into standard all-risk commercial property insurance
        policies with Defendants insuring property in Delaware, where such policies
        provide for business income loss and extra expense coverage and do not exclude
        coverage for pandemics, and who have suffered losses due to measures put in
        place by civil authorities’ stay-at-home or shelter-in-place orders since March 15,
        2020.

        61.     The Florida Sub-Class is defined as:

        All entities who have entered into standard all-risk commercial property insurance
        policies with Defendants insuring property in Florida, where such policies provide
        for business income loss and extra expense coverage and do not exclude coverage

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         for pandemics, and who have suffered losses due to measures put in place by civil
         authorities’ stay-at-home or shelter-in-place orders since March 15, 2020.

         62.     The Washington Sub-Class is defined as:

         All entities who have entered into standard all-risk commercial property insurance
         policies with Defendants insuring property in Washington state, where such
         policies provide for business income loss and extra expense coverage and do not
         exclude coverage for pandemics, and who have suffered losses due to measures
         put in place by civil authorities’ stay-at-home or shelter-in-place orders since
         March 15, 2020.

 Excluded from each class are the Defendants, its employees, officers, directors, legal

 representatives, heirs, successors, and wholly or partly owned subsidiaries or affiliated

 companies; Class Counsel and their employees; and the judicial officers and their immediate

 family members and associated court staff assigned to this case.

         63.     Plaintiffs reserve the right to modify, expand, or amend the definitions of the

 proposed classes following the discovery period and before the Court determines whether class

 certification is appropriate.

         64.     Certification of Plaintiffs’ claims for class-wide treatment is appropriate because

 Plaintiffs can prove the elements of their claims on a class-wide basis using the same evidence as

 would prove those elements in individual actions alleging the same claims.

         A.      Numerosity

         65.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). The Class

 numbers at least in the hundreds and consists of geographically dispersed business entities who

 are insured for business interruption losses. Defendants sell their insurance policies throughout

 the United States, and therefore joinder of the Class members is impracticable.

         66.     The identity of Class members is ascertainable, as the names and addresses of all

 Class members can be identified by Defendants or their agent’s books and records. Plaintiffs

 anticipate providing appropriate notice to the certified Class in compliance with Fed. R. Civ. P.

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 23(c)(2)(A) and/or (B), to be approved by the Court after class certification, or pursuant to court

 order under Fed. R. Civ. P. 23(d).

        B.      Typicality

        67.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3) because

 Plaintiffs’ claims are typical of the claims of each of the Class members, as all Class members

 were and are similarly affected and their claims arise from the same all-risk commercial property

 insurance policy provisions entered into with Defendants. Each Class member’s insurance

 policy contains the same form providing coverage for business income loss. None of the forms

 exclude coverage due to a governmental action intended to reduce the effect of the ongoing

 global pandemic. As a result, a declaratory judgment as to the rights and obligations under

 Plaintiffs’ Policies will address the rights and obligations of all Class members.

        C.      Adequacy of Representation

        68.     Plaintiffs are committed to prosecuting the action, will fairly and adequately

 protect the interests of the members of the Class, and has retained counsel competent and

 experienced in class action litigation, including litigation relating to insurance policies. Plaintiffs

 are aware of no interests antagonistic to or in conflict with other members of the Class. Plaintiffs

 anticipate no difficulty in the management of this litigation as a class action.

        D.      Commonality

        69.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) because there are

 questions of law and fact that are common to each of the classes. These common questions

 predominate over any questions affecting only individual Class members. The questions of law

 and fact common to the Class include, but are not limited to:




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                (a)     Whether there is an actual controversy between Plaintiffs and Defendants

 as to the rights, duties, responsibilities and obligations of the parties under the business

 interruption coverage provisions in standard all-risk commercial property insurance policies;

                (b)     Whether measures in response to the COVID-19 pandemic are excluded

 from Plaintiffs’ and the Class members’ standard all-risk commercial property insurance

 policies;

                (c)     Whether the measures put in place by civil authorities’ stay-at-home or

 shelter-in-place orders since March 15, 2020, caused physical loss or damage to covered

 commercial property;

                (d)     Whether Defendants have repudiated and anticipatorily breached the all-

 risk commercial property insurance policies it issued with business interruption coverage by

 intending to deny claims for coverage; and

        (e)     Whether Plaintiffs and the Class members suffered damages as a result of the

 anticipatory breach by Defendants.

        E.      Superiority/Predominance

        70.     This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3). A class action is

 superior to other available methods for the fair and efficient adjudication of the rights of the

 Class members. The joinder of individual Class members is impracticable because of the vast

 number of Class members who have entered into the standard all-risk commercial property

 insurance policies with Defendants.

        71.     Because a declaratory judgment as to the rights and obligations under the uniform

 all-risk commercial property insurance policies will apply to all Class members, most or all Class

 members would have no rational economic interest in individually controlling the prosecution of



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 specific actions. The burden imposed on the judicial system by individual litigation, and to

 Defendants, by even a small fraction of the Class members, would be substantial.

        72.     In comparison to piecemeal litigation, class action litigation presents far fewer

 management difficulties, far better conserves the resources of both the judiciary and the parties,

 and far more effectively protects the rights of each Class member. The benefits to the legitimate

 interests of the parties, the Court, and the public resulting from class action litigation

 substantially outweigh the expenses, burdens, inconsistencies, economic infeasibility, and

 inefficiencies of individualized litigation. Class adjudication is superior to other alternatives

 under Fed. R. Civ. P. 23(b)(3)(D). Class treatment will also avoid the substantial risk of

 inconsistent factual and legal determinations on the many issues in this lawsuit.

        73.     Plaintiffs know of no obstacles likely to be encountered in the management of this

 action that would preclude its maintenance as a class action. Rule 23 provides the Court with the

 authority and flexibility to maximize the efficiencies and benefits of the class mechanism and

 reduce management challenges.        The Court may, on motion of Plaintiffs or on its own

 determination, certify nationwide and statewide classes for claims sharing common legal

 questions; use the provisions of Rule 23(c)(4) to certify particular claims, issues, or common

 questions of law or of fact for class-wide adjudication; certify and adjudicate bellwether class

 claims; and use Rule 23(c)(5) to divide any Class into subclasses.

        F.      Rule 23(b)(2) Certification

        74.     This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2). The prosecution

 of separate actions by individual Class members would create a risk of inconsistent or varying

 adjudication with respect to individual Class members that would establish incompatible

 standards of conduct for the Defendants.



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           75.   In addition, the prosecution of separate actions by individual Class members

 would create a risk of adjudications with respect to them that would, as a practical matter, be

 dispositive of the interests of other Class members not parties to the adjudications, or

 substantially impair or impede their ability to protect their interests.

           76.   Defendants have also acted or refused to act on grounds generally applicable to

 the Class as a whole, thereby making appropriate final declaratory and/or injunctive relief with

 respect to the members of the Class as a whole.

                                       COUNT I
          DECLARATORY JUDGMENT – BUSINESS INCOME COVERAGE
 (Claim Brought on Behalf of the Nationwide Class and the New Jersey, Delaware, Florida,
                               and Washington Subclasses)

           77.   Plaintiffs repeat the allegations set forth in paragraphs 1-76 as if fully set forth

 herein.

           78.   Plaintiffs bring this Count individually and on behalf of the other members of the

 Nationwide Class and the New Jersey, Delaware, Florida, and Washington Subclasses.

           79.   Plaintiffs’ Policies, as well as those of the other Class members, are contracts

 under which Defendants were paid premiums in exchange for their promise to pay Plaintiffs’ and

 the other Class members’ losses for claims covered by the Policies.

           80.   On information and belief, Plaintiffs and other Class members have complied

 with all applicable provisions of the Policies and/or those provisions have been waived by

 Defendants or Defendants are estopped from asserting them, and yet Defendants have abrogated

 their insurance coverage obligations pursuant to the Policies’ clear and unambiguous terms and

 have wrongfully and illegally refused to provide coverage to which Plaintiffs and Class members

 are entitled.




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           81.   On information and belief, Defendants have denied claims related to COVID-19

 on a uniform and class-wide basis, even in circumstances where they claim to have conducted an

 “investigation,” so the Court can render declaratory judgment no matter whether members of the

 Class have filed a claim.

           82.   An actual case or controversy exists regarding Plaintiffs’ and the other Class

 members’ rights and Defendants’ obligations under the Policies to reimburse Plaintiffs and Class

 members for the full amount of Business Income losses incurred by Plaintiffs and the other Class

 members in connection with the suspension of their businesses stemming from Closure Orders.

           83.   Pursuant to 28 U.S.C. §2201, Plaintiffs and the other Class members seek a

 declaratory judgment from this Court declaring the following:

                 (a)    Plaintiffs’ and the other Class members’ Business Income losses incurred

 in connection with the Closure Orders and the necessary interruption of their businesses

 stemming from such Orders are insured losses under their Policies; and

                 (b)    Defendants are obligated to pay Plaintiffs and other Class members for the

 full amount of the Business Income losses incurred and to be incurred in connection with the

 Closure Orders during the period of restoration and the necessary interruption of their businesses

 stemming from such Orders.

                                       COUNT II
            BREACH OF CONTRACT – BUSINESS INCOME COVERAGE
 (Claim Brought on Behalf of the Nationwide Class and the New Jersey, Delaware, Florida,
                               and Washington Subclasses)

           84.   Plaintiffs repeat the allegations set forth in paragraphs 1-76 as if fully set forth

 herein.

           85.   Plaintiffs bring this Count individually and on behalf of the other members of the

 Nationwide Class and the New Jersey, Delaware, Florida, and Washington Subclasses.


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         86.     Plaintiffs’ Policies, as well as those of the other Class members, are contracts

 under which Defendants were paid premiums in exchange for their promise to pay Plaintiffs’ and

 the other Class members’ losses for claims covered by their Policies.

         87.     In the Policies, Defendants agreed to pay for their insureds’ actual loss of

 Business Income sustained due to the necessary suspension of their operations during the “period

 of restoration.”

         88.     In the Business Income policy, Defendants agreed to pay for their insureds’ actual

 loss of Business Income sustained due to the necessary “suspension of [their] operations” during

 the “period of restoration” caused by direct physical loss or damage.

         89.     The Closure Orders caused direct physical loss and damage to Plaintiffs’ and the

 other Class members’ Covered Properties, requiring suspension of operations at the Covered

 Properties. Losses caused by the Closure Orders thus triggered the Business Income provision of

 Plaintiffs’ and the other Class members’ Policies.

         90.     On information and belief, Plaintiffs and the other Class members have complied

 with all applicable provisions of their policies and/or those provisions have been waived by

 Defendants or Defendants are estopped from asserting them, and yet Defendants have abrogated

 their insurance coverage obligations pursuant to the Policies’ clear and unambiguous terms.

         91.     By denying coverage for any Business Income losses incurred by Plaintiffs and

 other Class members as a result of the Closure Orders and Orders in response to the COVID-19

 pandemic, Defendants have breached their coverage obligations under the Policies.

         92.     As a result of Defendants’ breaches of the Policies, Plaintiffs and the other Class

 members have sustained substantial damages for which Defendants are liable, in an amount to be

 established at trial.



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                                       COUNT III
          DECLARATORY JUDGMENT – CIVIL AUTHORITY COVERAGE
 (Claim Brought on Behalf of the Nationwide Class and the New Jersey, Delaware, Florida,
                               and Washington Subclasses)

           93.   Plaintiffs repeat the allegations set forth in paragraphs 1-76 as if fully set forth

 herein.

           94.   Plaintiffs bring this Count individually and on behalf of the other members of the

 Nationwide Class and the New Jersey, Delaware, Florida, and Washington Subclasses.

           95.   Plaintiffs’ Policies, as well as those of the other Class members, are contracts

 under which Defendants were paid premiums in exchange for their promise to pay Plaintiffs’ and

 other Class members’ losses for claims covered by their Policies.

           96.   Plaintiff and Class members have complied with all applicable provisions of the

 Policies and/or those provisions have been waived by Defendants or Defendants are estopped

 from asserting them, and yet Defendants have abrogated their insurance coverage obligations

 pursuant to the Policy’s clear and unambiguous terms and have wrongfully and illegally refused

 to provide coverage to which Plaintiff and Class members are entitled.

           97.   On information and belief, Defendants have denied claims related to COVID-19

 on a uniform and class wide basis, even in circumstances where they claim to have conducted an

 “investigation,” so the Court can render declaratory judgment no matter whether members of the

 Class have filed a claim.

           98.   An actual case or controversy exists regarding Plaintiffs’ and other Class

 members’ rights and Defendants’ obligations under the Policies to reimburse Plaintiffs and other

 Class members for the full amount of covered Civil Authority losses incurred by Plaintiff and

 other Class members in connection with Closure Orders and the necessary interruption of their

 businesses stemming from the Orders in response to the COVID-19 pandemic.


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           99.    Pursuant to 28 U.S.C. §2201, Plaintiffs and other Class members seek a

 declaratory judgment from this Court declaring the following:

                  (a)    Plaintiffs’ and other Class members’ Civil Authority losses incurred in

 connection with the Closure Orders and the necessary interruption of their businesses stemming

 from the COVID-19 pandemic are insured losses under their Policies; and

                  (b)    Defendants are obligated to pay Plaintiffs and other Class members the

 full amount of the Civil Authority losses incurred and to be incurred in connection with the

 covered losses related to the Closure Orders and the necessary interruption of their businesses

 stemming from such Orders.

                                       COUNT IV
            BREACH OF CONTRACT – CIVIL AUTHORITY COVERAGE
 (Claim Brought on Behalf of the Nationwide Class and the New Jersey, Delaware, Florida,
                               and Washington Subclasses)

           100.   Plaintiffs repeat the allegations set forth in paragraphs 1-76 as if fully set forth

 herein.

           101.   Plaintiffs bring this Count individually and on behalf of the other members of the

 Nationwide Class and the New Jersey, Delaware, Florida, and Washington Subclasses.

           102.   Plaintiffs’ Policies, as well as those of the other Class members, are contracts

 under which Defendants were paid premiums in exchange for their promise to pay Plaintiffs’ and

 the other Class members’ losses for claims covered by their Policies.

           103.   The Policies provide “Civil Authority” coverage, which promises to pay “the

 actual loss of Business Income you sustain and necessary Extra Expense caused by action of

 civil authority that prohibits access to the described premises, due to direct physical loss of or

 damage to property, other than at the described premises caused by or resulting from any

 Covered Cause of Loss.”


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           104.   The Closure Orders triggered the Civil Authority provision under Plaintiffs’ and

 the other members of the Class’s Policies.

           105.   On information and belief, Plaintiffs and the other members of the Class have

 complied with all applicable provisions of the Policies and/or those provisions have been waived

 by Defendants or Defendants are estopped from asserting them, and yet Defendants have

 abrogated their insurance coverage obligations pursuant to the Policies’ clear and unambiguous

 terms.

           106.   By denying coverage for any business losses incurred by Plaintiffs and other

 members of the Class in connection with the Closure Orders and Orders in response to the

 COVID-19 pandemic, Defendants have breached their coverage obligations under the Policies.

           107.   As a result of Defendants’ breaches of the Policies, Plaintiffs and the other

 members of the Class have sustained substantial damages for which Defendants are liable, in an

 amount to be established at trial.

                                       COUNT V
           DECLARATORY JUDGMENT – EXTRA EXPENSE COVERAGE
 (Claim Brought on Behalf of the Nationwide Class and the New Jersey, Delaware, Florida,
                               and Washington Subclasses)

           108.   Plaintiffs repeat the allegations set forth in paragraphs 1-76 as if fully set forth

 herein.

           109.   Plaintiffs bring this Count individually and on behalf of the other members of the

 Nationwide Class and the New Jersey, Delaware, Florida, and Washington Subclasses.

           110.   Plaintiffs’ Policies, as well as those of other Class members, are contracts under

 which Defendants were paid premiums in exchange for their promise to pay Plaintiffs’ and other

 Class members’ losses for claims covered by their Policies.




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         111.    On information and belief, Plaintiffs and other Class members have complied

 with all applicable provisions of the Policies and/or those provisions have been waived by

 Defendants or Defendants are estopped from asserting them, and yet Defendants have abrogated

 their insurance coverage obligations pursuant to the Policies’ clear and unambiguous terms and

 have wrongfully and illegally refused to provide coverage to which Plaintiffs and Class members

 are entitled.

         112.    On information and belief, Defendants have denied claims related to COVID-19

 on a uniform and class wide basis, even in circumstances where they claim to have conducted an

 “investigation,” so the Court can render declaratory judgment no matter whether members of the

 Class have filed a claim.

         113.    An actual case or controversy exists regarding Plaintiffs’ and other Class

 members’ rights and Defendants’ obligations under the Policies to reimburse Plaintiffs and the

 other Class members for the full amount of Extra Expense losses incurred by Plaintiffs and Class

 members in connection with the Closure Orders and the necessary interruption of their

 businesses stemming from Orders in response to the COVID-19 pandemic.

         114.    Pursuant to 28 U.S.C. §2201, Plaintiffs and other Class members seek a

 declaratory judgment from this Court declaring the following:

                 (a)   Plaintiffs’ and other Class members’ Extra Expense losses incurred in

 connection with the Closure Orders and the necessary interruption of their businesses stemming

 from such Orders are insured losses under their Policies; and

                 (b)   Defendants are obligated to pay Plaintiffs and other Class members for the

 full amount of the Extra Expense losses incurred and to be incurred in connection with the




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 covered losses related to the Closure Orders during the period of restoration and the necessary

 interruption of their businesses stemming from such Orders.

                                       COUNT VI
            BREACH OF CONTRACT – EXTRA EXPENSE COVERAGE
 (Claim Brought on Behalf of the Nationwide Class and the New Jersey, Delaware, Florida,
                               and Washington Subclasses)

           115.   Plaintiffs repeat the allegations set forth in paragraphs 1-76 as if fully set forth

 herein.

           116.   Plaintiffs bring this Count individually and on behalf of the other members of the

 Nationwide Class and the New Jersey, Delaware, Florida, and Washington Subclasses.

           117.   Plaintiffs’ Policies, as well as those of the other Class members, are contracts

 under which Defendants were paid premiums in exchange for their promise to pay Plaintiffs’ and

 the other Class members’ losses for claims covered by their Policies.

           118.   In the Extra Expense policy, Defendants also agreed to pay necessary Extra

 Expense “at the premises described in the Declarations only if the Declarations show that

 Business Income coverage applies at the premises.”            “Extra Expense” means “necessary

 expenses [] incur[red] during the ‘period of restoration’ that [] would not have incurred if there

 had been no direct physical loss or damage to property caused by or resulting from a Covered

 Cause of Loss.”

           119.   Due to the Closure Orders, Plaintiffs and other members of the Class incurred

 Extra Expense at Covered Property.

           120.   On information and belief, Plaintiffs and other members of the Class have

 complied with all applicable provisions of the Policies and/or those provisions have been waived

 by Defendants or Defendants are estopped from asserting them, and yet Defendants have




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 abrogated their insurance coverage obligations pursuant to the Policies’ clear and unambiguous

 terms.

          121.   By denying coverage for any business losses incurred by Plaintiffs and other

 members of the Class in connection with the Closure Orders and Orders intended in response to

 the COVID-19 pandemic, Defendants have breached their coverage obligations under the

 Policies.

          122.   As a result of Defendants’ breaches of the Policies, Plaintiffs and the other

 members of the Class have sustained substantial damages for which Defendants are liable, in an

 amount to be established at trial.

          WHEREFORE, Plaintiffs, on behalf of themselves and all similarly situated individuals,

 demand judgment against Defendants as follows:

          A.     Declaring this action to be a proper class action maintainable pursuant to Fed. R.

 Civ. P. 23(a), (b)(2), and Rule 23(b)(3) and declaring Plaintiffs and their counsel to be

 representatives of the Class;

          B.     Issuing a Declaratory Judgment declaring the parties’ rights and obligations under

 the insurance policies;

          C.     Awarding Plaintiffs and the Class compensatory damages from Defendants’

 breach of the insurance policies in an amount to be determined at trial, together with appropriate

 prejudgment interest at the maximum rate allowable by law;

          D.     Awarding Plaintiffs and the Class costs and disbursements and reasonable

 allowances for the fees of Plaintiffs’ and the Class’s counsel and experts, and reimbursement of

 expenses; and




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        E.     Awarding such other and further relief the Court deems just, proper, and

 equitable.

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                                                   By:   /s/ James E. Cecchi
                                                         JAMES E. CECCHI


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                                 DEMAND FOR A JURY TRIAL

        Plaintiffs and the Class request a jury trial for all Counts for which a trial by jury is

 permitted by law.


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                                                       OLSTEIN, BRODY & AGNELLO
                                                       Attorneys for Plaintiffs


                                                       By:   /s/ James E. Cecchi
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